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 8                         IN THE UNITED STATES DISTRICT COURT

 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
      ELLA HENNING, individually and on behalf       Case No.:
11    of all others similarly situated,
                                                     PLAINTIFF’S CLASS ACTION
12                  Plaintiff,                       COMPLAINT FOR VIOLATIONS OF:
                                                       1. VIOLATIONS OF STATE
13           v.                                           CONSUMER FRAUD ACTS
                                                       2. FALSE ADVERTISING LAW,
14    LUXURY BRAND PARTNERS, LLC,                         BUS. & PROF. CODE, § 17500
                                                       3. UNFAIR COMPETITION LAW,
15                  Defendant.                            BUS. & PROF. CODE, § 17200
                                                       4. CONSUMER LEGAL
16                                                        REMEDIES ACT, CIV. CODE, §
                                                          1770
17                                                     5. UNJUST ENRICHEMENT, in the
                                                          alternative
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                                                     DEMAND FOR JURY TRIAL
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 1           Plaintiff Ella Henning (“Plaintiff”), individually and on behalf of all others similarly

 2   situated, by and through her attorneys, brings this class action complaint against Defendant Luxury

 3   Brand Partners, LLC (“Defendant” or “LBP”) and alleges the following upon information and

 4   belief, except for those allegations pertaining to Plaintiff, which are based on personal knowledge:

 5                                      NATURE OF THE ACTION

 6           1.      This is a class action lawsuit regarding Defendant’s manufacturing, distribution,

 7   advertising, marketing, and sale of IGK® branded Dry Shampoo (the “Products” or the “Dry

 8   Shampoo”) 1 that contain dangerously high levels of benzene, a carcinogenic impurity that has been
 9   linked to leukemia and other cancers.
10           2.      The presence of benzene in the Products renders them adulterated, misbranded, and
11   illegal to sell under federal and state law.
12           3.      Prior to placing the Products into the stream of commerce and into the hands of
13   consumers to use on their hair and scalp, Defendant knew or should have known that the Products
14   contained benzene, but Defendant misrepresented, omitted, and concealed this fact to consumers,
15   including Plaintiff and Class members, by not including benzene on the Products’ labels or
16   otherwise warning about its presence.
17           4.      Plaintiff and Class members reasonably relied on Defendant’s representations that
18   the Products were safe, unadulterated, and free of any carcinogens that are not listed on the label.

19           5.      Plaintiff and Class members purchased and used the Products and were therefore

20   exposed to, or risked being exposed to, the harmful presence of benzene in the Products.

21           6.      The Products are worthless because they contain or risked containing benzene, a

22   known human carcinogen that is an avoidable ingredient in the Products and Defendant’s

23   manufacturing process. Indeed, the presence of benzene renders the Products adulterated,

24   misbranded, and illegal to sell.

25           7.      Defendant is therefore liable to Plaintiff and Class members for selling the Products

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27           1
             The Products refer to the following IGK’s entire line of dry shampoos: Direct Flight
     Multi-Tasking Matcha Dry Shampoo; Jet Lag Invisible Dry Shampoo; and First Class Charcoal
28
     Detox Dry Shampoo.
                                                  1
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 1   without disclosing that the Products contain or risk containing benzene.

 2                                               PARTIES

 3          Plaintiff

 4          8.      Plaintiff Elle Henning is a resident and citizen of San Francisco, California.

 5   Plaintiff has purchased numerous varieties of the Products over a period of approximately two

 6   years. The last time Plaintiff purchased for use one the Products was approximately one month

 7   ago, when Plaintiff purchased the Jet Lag Invisible Dry Shampoo at a Sephora store located in San

 8   Francisco, California.
 9          9.      When purchasing the Products, Plaintiff reviewed the accompanying labels and
10   disclosures and understood them as representations and warranties by Defendant that the Products
11   were properly manufactured, free from defects, and safe for its intended use. Plaintiff relied on
12   these representations and warranties when deciding to purchase the Products, and these
13   representations and warranties were part of the basis of the bargain. Had Defendant not made the
14   false, misleading, and deceptive representations and omissions regarding the Products containing
15   or risking containing benzene, Plaintiff would not have been willing to purchase the Products. The
16   Products Plaintiff purchased were worthless because they either contained or risked containing the
17   known carcinogen benzene. Accordingly, Plaintiff was injured in fact and lost money as a result
18   of Defendant’s improper conduct.

19          Defendant

20          10.     Defendant Luxury Brand Partners is a corporation organized, existing, and doing

21   business under and by virtue of the laws of the state of Florida with its principal place of business

22   in Miami, Florida. Defendant markets and sells its IGK-branded haircare products, including the

23   Products at issue, throughout the United States. The Products, including those purchased by

24   Plaintiff and Class members, is available at various retail stores throughout the United States.

25   Defendant authorized the false, misleading, and deceptive marketing, advertising, distribution, and

26   sale of the Products.

27                                    JURISDICTION AND VENUE

28          11.     This Court has subject-matter jurisdiction pursuant to the Class Action Fairness
                                                      2
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 1   Act, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

 2   $5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are members

 3   of the Class who are diverse from Defendant, and (4) there are more than 100 Class members. This

 4   Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367 because

 5   they form part of the same case or controversy as the claims within the Court’s original jurisdiction.

 6          12.     This Court has personal jurisdiction over Defendant because the claims asserted in

 7   this complaint arise out of Defendant’s contacts with this district. Defendant has been afforded due

 8   process because it has, at all times relevant to this matter, individually or through its agents,
 9   subsidiaries, officers and/or representatives, operated, conducted, engaged in and carried on a
10   business venture in this state, and/or marketed, advertised, distributed and/or sold products,
11   committed a statutory violation within this state related to the allegations made herein, and caused
12   injuries to Plaintiff and putative Class Members, which arose out of the acts and omissions that
13   occurred in the state of California, during the relevant time period, at which time Defendant was
14   engaged in business activities in the state of California.
15          13.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a
16   substantial part of the events or omissions giving rise to the claims asserted in this complaint
17   occurred in this state. Venue is also proper pursuant to 28 U.S.C. § 1391(c) because Defendant
18   conducts substantial business in this District, has sufficient minimum contacts with this District,

19   and otherwise purposely avails itself of the markets in this District, through the promotion, sale,

20   and marketing of the Products in this District.

21                                    DIVISIONAL ASSIGNMENT

22          14.     Pursuant to Civil Local Rule 3-2(c-d), a substantial part of the events giving rise to

23   the claims herein arose in San Francisco County, California and this action should be assigned to

24   the San Francisco Division.

25                                     FACTUAL ALLEGATIONS

26     I.   Defendant’s History in the Industry

27          15.     Defendant owns a portfolio of high-end beauty brands, including IGK.

28          16.     The IGK brand was founded in 2016 by a team of four hairstylists and positioned
                                                       3
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 1   for the “social-media-obsessed Millenial.” 2 The brand’s products include shampoos, conditioners,

 2   styling products, and a variety of dry shampoos.

 3           17.     According to Aaron Grenia, one of the brand’s founders, IGK’s three dry shampoos

 4   are designed to appeal to customer preferences by offering different levels of cleansing powder.

 5   "[IGK] created three dry shampoos – one with a lightweight cleanse (JET LAG Invisible Dry

 6   Shampoo, 1% cleansing powders), one with a medium cleanse (DIRECT FLIGHT Multi-Tasking

 7   Dry Shampoo, 3% cleansing powders) and one with a deep cleanse (FIRST CLASS Charcoal

 8   Detox Dry Shampoo, 7% cleansing powders)." 3
 9           18.     The dry shampoo market has grown dramatically in recent years and is currently
10   valued at approximately $4 billion dollars. 4 IGK has developed a dedicated following since its
11   2016 launch, and its dry shampoo products are frequently recommended to consumers by beauty

12   magazines and industry experts. 5

13           19.     Defendant’s products, including the Dry Shampoo, are manufactured, distributed,

14   and sold throughout the United States, including the State of California. The Products are sold at

15   in store and online at mass market retailers and specialty beauty stores such as Target, Sephora,

16   and Ulta.

17           20.     Defendant has gained the trust of consumers, who believe Defendant’s promises

18   that its Products are high-end, innovative, and salon-quality hair products.

19           21.     The Products at issue are dry shampoos, which are a product designed to absorb the

20   dirt, oil, and grease of the scalp without washing it. 6

21           22.     Dry shampoos are typically administered from an aerosol can and made with a base

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23           2
                    https://wwd.com/beauty-industry-news/beauty-features/luxury-brand-partners-igk-
     product-sephora-10488650/ (Last Accessed November 8, 2022)
24          3
                https://www.refinery29.com/en-gb/2018/02/189576/igk-haircare-uk (Last Accessed
25   November 8, 2022)
            4
              https://www.factmr.com/report/4300/dry-shampoo-market (Last accessed November 7,
26   2022)
            5
              See, e.g., https://www.glamour.com/gallery/best-dry-shampoo (Last Accessed November
27   8, 2022)
            6
               https://www.webmd.com/beauty/what-is-dry-shampoo (Last Accessed November 3,
28
     2022)
                                                    4
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 1   of alcohol or starch. When applied to the hair, the dry shampoo soaks up the oil and grease, making

 2   it look cleaner. According to the IGK website, the Products are applied by spraying into hair and

 3   then massaging the Products into the scalp. 7

 4          23.     The U.S. Food and Drug Administration (“FDA”) classifies and regulates

 5   shampoos, including dry shampoos like the Products, as cosmetics.

 6    II.   Benzene Is a Known Human Carcinogen

 7          24.     The World Health Organization and the International Agency for Research on

 8   Cancer have classified benzene as a Group 1 compound thereby defining it as “carcinogenic to
 9   humans.” 8
10          25.     The Department of Health and Human Services has determined that benzene causes

11   cancer in humans. 9

12          26.     “IARC classifies benzene as “carcinogenic to humans,” based on sufficient

13   evidence that benzene causes acute myeloid leukemia (AML). IARC also notes that benzene

14   exposure has been linked with acute lymphocytic leukemia (ALL), chronic lymphocytic leukemia

15   (CLL), multiple myeloma, and non-Hodgkin lymphoma.” 10

16          27.     Benzene exposure has been linked with acute lymphocytic leukemia, chronic

17   lymphocytic leukemia, multiple myeloma, and non-Hodgkin lymphoma. 11

18          28.     The NIOSH and CDC identify “target organs” associated with human exposure to

19   benzene to include: “eyes, skin, respiratory system, blood, central nervous system, bone marrow. 12

20          29.     The CDC warns that “[b]enzene works by causing cells not to work correctly. For

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            7
22                https://www.igkhair.com/collections/dry-shampoo/products/first-class-charcoal-detox-
     dry-shampoo (Last accessed November 7, 2022)
23           8
                IARC Monographs on the Identification of Carcinogenic Hazards to Humans: List of
     Classifications, WHO, https://monographs.iarc.who.int/list-of-classifications (last updated July 1,
24
     2022).
             9
25                   Facts   About     Benzene,     CDC      (last   updated      Apr.     4,     2018)
     https://emergency.cdc.gov/agent/benzene/basics/facts.asp.
26           10
                  Benzene and Cancer Risk, American Cancer Society (last updated Jan. 5, 2016)
     https://www.cancer.org/cancer/cancer-causes/benzene.html.
27           11
                 Id.
             12
                     NIOSH     Pocket    Guide     to    Chemical     Hazards:       Benzene,     CDC,
28
     https://www.cdc.gov/niosh/npg/npgd0049.html (last updated Oct. 30, 2019).
                                                      5
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 1   example, it can cause bone marrow not to produce enough red blood cells, which can lead to

 2   anemia. Also, it can damage the immune system by changing blood levels of antibodies and

 3   causing the loss of white blood cells.” 13

 4   III.    Benzene Is Primarily Used in Industrial Processes and Is Highly Regulated

 5           30.      The CDC states that “[s]ome industries use benzene to make other chemicals that

 6   are used to make plastics, resins, and nylon and synthetic fibers. Benzene is also used to make

 7   some types of lubricants, rubbers, dyes, detergents, drugs, and pesticides.” 14

 8           31.      Benzene is a component of crude oil, gasoline, and cigarette smoke, and is one of
 9   the elementary petrochemicals. 15
10           32.      The FDA currently recognizes the danger of benzene and, as a result, has claimed

11   it should not be used in the manufacture of any component of a drug product due to its unacceptable

12   toxicity effect. 16

13           33.      Where the use of benzene or other Class 1 solvents is unavoidable, the FDA has

14   stated that the levels should be restricted, and benzene is restricted under such guidance to 2 parts

15   per million (“ppm”). 17

16   IV.     Exposure to Benzene in any Amount Is Extremely Dangerous

17           34.      A 1939 study on benzene stated that “exposure over a long period of time to any

18   concentration of benzene greater than zero is not safe.” 18

19           35.      A 2010 study summarized the epidemiological studies of the carcinogenic effects

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21
             13
22              Facts About Benzene, supra.
             14
                Id.
23           15
                 Benzene, National Cancer Institute, https://www.cancer.gov/about-cancer/causes-
     prevention/risk/substances/benzene (last updated Jan. 14, 2019).
24           16
                David Light et al., Valisure Citizen Petition on Benzene in Dry Shampoo Products
25   (October                  31,                2022),               https://assets-global.website-
     files.com/6215052733f8bb8fea016220/6360f7f49903987d8f4f4309_Valisure%20FDA%20Citiz
26   en%20Petition%20on%20Benzene%20in%20Dry%20Shampoo%20Products_103122.pdf (the
     “Valisure Citizen Petition”).
27           17
                Id.
             18
                F.T. Hunter, Chronic Exposure to Benzene (Benzol): The Clinical Effects, 21 J. Indus.
28
     Hygiene & Toxicology 331 (1939), https://www.cabdirect.org/cabdirect/abstract/19402700388.
                                                     6
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 1   of benzene exposure and provided an overview of the hematotoxic effects of benzene. 19 The study

 2   concluded:

 3                 a. There is probably no safe level of exposure to benzene, and all exposures constitute

 4                    some risk in a linear, if not supralinear, and additive fashion.

 5                 b. Exposure to benzene can lead to multiple alterations that contribute to the

 6                    leukemogenic process, indicating a multimodal mechanism of action.

 7                 c. Benzene is a ubiquitous chemical in our environment that causes acute leukemia

 8                    and probably other hematological cancers.
 9           36.      The CDC has stated that ways in which people “could be exposed to benzene”
10   include 20:
11                 a. Outdoor air contains low levels of benzene from tobacco smoke, gas stations, motor

12                    vehicle exhaust, and industrial emissions.

13                 b. Indoor air generally contains levels of benzene higher than those in outdoor air. The

14                    benzene in indoor air comes from products that contain benzene such as glues,

15                    paints, furniture wax, and detergents.

16                 c. The air around hazardous waste sites or gas stations can contain higher levels of

17                    benzene than in other areas.

18                 d. Benzene leaks from underground storage tanks or from hazardous waste sites

19                    containing benzene can contaminate well water.

20                 e. People working in industries that make or use benzene may be exposed to the

21                    highest levels of it.

22                 f. A major source of benzene exposure is tobacco smoke.

23           37.      The NIOSH and CDC identify “exposure routes” for benzene to include:

24   “inhalation, skin absorption, ingestion, skin and/or eye contact.” 21

25

26           19
               Martyn T. Smith, Advances in Understanding Benzene Health Effects and Susceptibility,
     31 ANN. REV. PUB. HEALTH 133 (2010), https://www.annualreviews.org/doi/full/10.1146/
27   annurev.publhealth.012809.103646.
            20
               Facts About Benzene, supra.
28          21
               NIOSH Pocket Guide, supra.
                                                   7
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 1           38.     “Direct exposure [to benzene] of the eyes, skin, or lungs to benzene can cause tissue

 2   injury and irritation.” 22

 3           39.     Benzene exposure from dry shampoo is especially troubling because the Product is

 4   applied to the scalp and around the face, with the remnants flying through the air likely to be at

 5   least partially inhaled by the user and absorbed into their lungs. Thus, even a relatively low

 6   concentration limit can result in very high total benzene exposure.

 7           40.     In fact, inhaling benzene at levels of 0.4 parts per billion frequently over a lifetime

 8   might cause an additional cancer per 100,000 people. 23
 9           41.     The FDA allows for up to 2 parts per million of benzene in products where the use
10   of benzene is “unavoidable” to produce a drug product with a significant therapeutic advance.
11   However, dry shampoos are not a drug and contains no active pharmaceutical ingredient for
12   therapeutic purpose; therefore, any significant detection of benzene in the Products could be
13   deemed unacceptable. 24
14    V.     Discovery of Benzene in the Products

15           42.     Due to the substantial harm to humans caused by exposure to chemicals such as

16   benzene, companies have been founded with the specific goal of preventing defective products

17   containing said harmful chemicals from reaching consumers. Valisure, an “independent

18   laboratory” 25, is a company with a core mission “to help ensure the safety, quality and consistency

19   of medications and supplements in the market.” 26

20           43.     In terms of accreditation and registration, “Valisure operates an analytical

21   laboratory that is accredited under International Organization for Standardization (‘ISO/IEC’)

22   17025:2017 standards for chemical testing (PJLA Accreditation Number 94238),” 27 and it is

23   registered with the Drug Enforcement Administration (License # RV0484814) and FDA (FEI #:

24
             22
25            Facts About Benzene, supra.
             23
              https://www.epa.gov/sites/default/files/2016-09/documents/benzene.pdf (Last Accessed
26   November 7, 2022)
           24
              See Valisure Citizen Petition, supra.
27         25
              “About Us.” https://www.valisure.com/about (last visited November 4, 2022).
           26
              Valisure Citizen Petition, supra.
28         27
              Id.
                                                     8
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 1   3012063246).” 28

 2          44.        Valisure has tested for specific chemical qualities in numerous types of products,

 3   such as N-Nitrosodimethylamine in ranitidine and metformin and benzene in hand sanitizers and

 4   sun care products. Each time, Valisure’s detection of benzene and other carcinogens has been

 5   independently confirmed by the industry and led to recalls by manufacturers over the subject

 6   products.

 7          45.        On October 31, 2022, Valisure reported its testing results for benzene in various

 8   types of dry shampoo utilizing gas chromatography and detection by mass spectrometry (“GC-
 9   MS”) instrumentation that allows mass spectral separation. 29
10          46.        GC-MS “is generally considered one of the most accurate analyses available.” 30

11   Indeed, the FDA used the same method to test for impurities like benzene in hand sanitizers. 31

12          47.        “The GC-MS method described in this petition utilized body temperature (37°C)

13   for oven incubation. 40°C has been previously used for benzene analysis from liquid

14   pharmaceuticals and beverages, and reduced false positive results compared with higher-

15   temperature incubation.” 32

16          48.        Valisure analyzed 148 unique batches from 34 brands of dry shampoo. 33

17          49.        Valisure identified ten brands of dry shampoo which contained levels of benzene

18   at 2 ppm or higher, including the Products at issue in this case. 34

19          50.        Valisure’s testing results were confirmed by the voluntary recalls of several dry

20   shampoo products manufactured by Procter & Gamble and Unilever which were found to contain

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23          28
                 Id.
            29
                 Id.
24          30
                    GC/MS       Analysis,      Element,  https://www.element.com/materials-testing-
25   services/chemical-analysis-labs/gcms-analysis-laboratories (last visited July 20, 2022).
             31
                Direct Injection Gas Chromatography Mass Spectrometry (GC-MS) Method for the
26   Detection of Listed Impurities in Hand Sanitizers, FDA (Aug. 24, 2020),
     https://www.fda.gov/media/141501/download.
27           32
                Valisure Citizen Petition, supra.
             33
                Id.
28           34
                Id.
                                                      9
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 1   benzene. 35

 2           51.        Valisure specifically measured benzene concentrations from 0.43 to 2.49 ppm in

 3   the Products: 36

 4                                                                                         Benzene
             Product Description                        UPC                 Lot          Concentration
 5                                                                                          (ppm)
 6        Direct Flight Multi-Tasking              854253008616          19196 E               2.49
 7          Matcha Dry Shampoo

 8      Jet Lag Invisible Dry Shampoo              854569007402          21270A1                .94
 9
          Direct Flight Multi-Tasking
10                                                 854253008470          21021 A                .92
            Matcha Dry Shampoo
11      First Class Charcoal Detox Dry             810021400518         202351672
                                                                                                .70
12                  Shampoo                                                 1
                                                   810021400518
13      First Class Charcoal Detox Dry
                                                                          RF9077                .45
                    Shampoo
14
                                                   810021400518
        First Class Charcoal Detox Dry
15                                                                        RF1181                .43
                    Shampoo
16

17           52.        In at least one of the lots tested, the detected levels of benzene in the Products are
18   greater than the 2 ppm concentration limit for “unavoidable” uses per FDA guidance. 37 However,
19   because benzene is not a requisite component of manufacturing or packaging dry shampoo, its
20   presence in the Products is not unavoidable and “any significant detection of benzene should be
21   deemed unacceptable.” 38
22           53.        David Light, Founder and Chief Executive Officer of Valisure, stated that “[t]he
23   presence of this known human carcinogen in dry shampoo products that are regularly used indoors
24   and in large volumes makes this finding especially troubling.” 39
25
             35
               https://www.cnn.com/2022/10/24/business/unilever-shampoo-recall (Last Accessed
26   November 4, 2022)
           36
              Valisure Citizen Petition, supra.
27         37
              Id.
           38
              Id.
28         39
              Id.
                                                10
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 1          54.       The Products are not designed to contain benzene, and no amount of benzene is

 2   acceptable in dry shampoo such as the Products manufactured, distributed, and sold by Defendant.

 3   Further, although Defendant lists the ingredients on the Products’ labels, Defendant failed to

 4   disclose on the Products’ labeling or anywhere in Defendant’s marketing that the Product contains

 5   benzene.

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20          55.       Despite its knowledge that the Products contain benzene, Defendant has failed to

21   issue a voluntary recall of the Products.

22   VI.    Benzene Renders the Product Adulterated, Misbranded, and Illegal to Sell

23          56.       “Dry shampoo products are considered cosmetics that are regulated by the U.S.

24   Food and Drug Administration.” 40

25          57.       The FDA has several safety and effectiveness regulations in place that govern the

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28          40
                 Valisure Citizen Petition, supra.
                                                     11
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 1   manufacture and marketing of cosmetic products. 41

 2             58.   As cosmetic products regulated by the FDA, the Products are prohibited from being

 3   adulterated or misbranded. See FD&C Act, 21 U.S.C. §§ 361, 362.

 4             59.   A cosmetic is deemed “adulterated” if it “bears or contains any poisonous or

 5   deleterious substance which may render it injurious to users under the conditions of use prescribed

 6   in the labeling thereof, or under such conditions of use as are customary or usual...” 21 U.S.C. §

 7   361(a).

 8             60.   A cosmetic shall be deemed to be misbranded if its labeling is false or misleading
 9   in any particular. 21 U.S.C. § 362 (a).
10             61.   FDA guidance permits up to 2 ppm benzene in a product if its use in the
11   manufacturing process is “unavoidable.” 42
12             62.   In cosmetic products, the FDA has announced recalls of various products

13   contaminated with benzene, including other dry shampoos. 43

14             63.   Moreover, because dry shampoos are cosmetics and not drugs, they contain no

15   active pharmaceutical ingredient for therapeutic purpose which might create an exception to the

16   presence of benzene.

17             64.   Regardless, Defendant’s Products contain levels of benzene above 2 ppm,

18   including, in some cases, more than 7 times that limit. 44

19             65.   Defendant could have avoided any potential for benzene contamination in the

20   Products by changing the manufacturing process or raw ingredients, and the Products could have

21   been sold with absolutely no benzene in them.

22             66.   The mere presence of benzene renders the Products both adulterated and

23
               41
                 FDA Authority Over Cosmetics: How Cosmetics Are Not FDA-Approved, but Are FDA-
24
     Regulated, FDA, https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-
25   cosmetics-how-cosmetics-are-not-fda-approved-are-fda-regulated (last updated Mar. 2, 2022).
              42
                 Valisure Citizen Petition, supra.
26            43
                  Food and Drug Administration. P&G Issues Voluntary Recall of Aerosol Dry
     Conditioner Spray Products and Aerosol Dry Shampoo Spray Products (December 17, 2021)
27   (https://www.fda.gov/safety/recalls-market- withdrawals-safety-alerts/pg-issues-voluntary-recall-
     aerosol-dry-conditioner-spray-products-and-aerosol-dry- shampoo-spray)
28            44
                 Valisure Citizen Petition, supra.
                                                    12
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 1   misbranded under the FDCA. The Products are adulterated because they “contains [a] poisonous

 2   or deleterious substance which may render it injurious to users under the conditions of use

 3   prescribed in the labeling thereof.” 21 U.S.C. § 361(a).

 4          67.     The Products are misbranded because their labeling is “false” and “misleading”

 5   because it does not disclose the presence of benzene. 21 U.S.C. § 362(a).

 6          68.     A product that is “adulterated” or “misbranded” cannot legally be manufactured,

 7   advertised, distributed, or sold. 21 U.S.C. § 331(a). Adulterated and misbranded products thus

 8   have no economic value and are legally worthless.
 9          69.     California’s Sherman Food, Drug, and Cosmetic Law has expressly adopted the
10   federal labeling requirements as its own. The definition of “adulterated” as defined by Cal. Health
11   & Safety Code § 111670 mirrors the FDA definition, defining an adulterated cosmetic as one that
12   “bears or contains any poisonous or deleterious substance that may render it injurious to users
13   under the conditions of use prescribed in the labeling or advertisement of the cosmetic, or under
14   conditions of use as are customary or usual.” In fact, under the California law, cosmetics are
15   required to satisfy all of the labeling requirements of the Federal Food, Drug, and Cosmetic Act
16   (21 U.S.C. Sec. 301, et seq.), and the federal Fair Packaging and Labeling Act (15 U.S.C. Sec.
17   1451, et seq.). See Cal. Health & Safety Code § 110371.
18          70.     It is unlawful in the state of California to distribute cosmetics if its packaging or

19   labeling does not conform to the provisions of California and/or Federal law. Cal. Health & Safety

20   Code § 110385.

21          71.     Further, it is unlawful for any person to disseminate any false advertisement of any

22   food, drug, device, or cosmetic. An advertisement is false if it is false or misleading in any

23   particular. Cal. Health & Safety Code § 110390.

24          72.     It is unlawful for any person to advertise any food, drug, device, or cosmetic that is

25   adulterated or misbranded. Cal. Health & Safety Code § 110398.

26          73.     As alleged herein, Defendant has violated the FDCA; the Sherman Food, Drug, and

27   Cosmetic Law; California’s Unfair Competition Law (“UCL”), Consumer Legal Remedies Act

28   (“CLRA”), and False Advertising Law (“FAL”); and various state consumer protection statutes.
                                                     13
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 1   Defendant engaged in fraudulent, unfair, deceptive, misleading, and/or unlawful conduct

 2   stemming from its misrepresentations and omissions surrounding benzene contamination affecting

 3   the Products.

 4          74.      If Defendant had disclosed to Plaintiff and putative Class Members that the

 5   Products contained or risked containing benzene and thus risked benzene exposure during use of

 6   the Products, Plaintiff and putative Class Members would not have purchased the Products or they

 7   would have paid less for the Products.

 8          75.      As a seller of a cosmetic, Defendant had and has a duty to ensure that its Products
 9   did not and do not contain excessive (or any) level of benzene, including through regular testing,
10   especially before injecting the Products into the stream of commerce for consumers to use on their
11   hair and scalp. But based on Valisure’s testing results set forth above, Defendant made no
12   reasonable effort to test its Products for benzene, despite its claims that the Products’ ingredients
13   were tested for safety. Nor did it disclose to Plaintiff in any advertising or marketing that its dry
14   shampoo contained benzene, let alone at levels that are many multiples of the emergency, interim
15   limit set by the FDA. To the contrary, Defendant represented and warranted, expressly and
16   impliedly, that the Products were of merchantable quality, complied with federal and state law,
17   and did not contain carcinogens or other impurities such as benzene.
18   VII.   Defendant’s Knowledge, Misrepresentations, Omissions, and Concealment of
            Material Facts Deceived Plaintiff and Reasonable Consumers
19
            76.      The Products contains butane, isobutane and propane as propellants.
20
            77.      Aerosols typically contain volatile hydrocarbons, like butane or isobutane, as
21
     propellants. These propellants are derived from crude oil and manufactured in oil refineries where
22
     a variety of other hydrocarbons, including benzene, are produced.
23
            78.      Because the chemicals are derived from the same sources in the same facilities,
24
     there is high potential for benzene contamination in the processing of butane and isobutane.
25
            79.      Manufacturing companies that work with these volatile chemicals understand the
26

27

28
                                                      14
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 1   risks of benzene contamination. 45

 2          80.       Defendant, a large, sophisticated corporation in the business of manufacturing,

 3   distributing, and selling products containing aerosol propellants such as butane and isobutane,

 4   knew or should have known of the risks of benzene contamination.

 5          81.       Defendant’s use of butane and isobutane as a propellant therefore put them on

 6   notice of the risk of benzene contamination in the Products.

 7          82.       Defendant sold, and continue to sell, dry shampoo products containing butane and

 8   isobutane during the class period despite Defendant’s knowledge of the risk of benzene
 9   contamination.
10          83.       Federal and state regulatory regimes require that cosmetics marketed on a retail
11   basis to consumers contain a list of ingredients. 46 Failure to comply with this requirement renders
12   a cosmetic misbranded under the FD&C Act and analogous state regulatory acts, including the

13   California Sherman Food, Drug, and Cosmetic Law.

14          84.       Benzene is not listed on the Products’ labels as an ingredient, nor is there any

15   warning about the inclusion (or even potential inclusion) of benzene in the Products.

16          85.       Defendant has engaged in deceptive, untrue, and misleading advertising by making

17   representations by failing to warn about the potential presence of benzene in the Products, and

18   nothing on the Products’ labels otherwise insinuate, state, or warn that the Products contain

19   benzene.

20          86.       The presence of benzene in the Products renders the Products misbranded and

21   adulterated and therefore illegal and unfit for sale in trade or commerce. Plaintiff would not have

22   purchased the Products had they been truthfully and accurately labeled.

23          87.       Had Defendant adequately tested its Products for benzene and other carcinogens

24   and impurities, it would have discovered that its Products contained benzene – even at levels above

25

26          45
                 See, e.g., Butane Safety Data Sheet, Whiting, https://whiting.com/wp-
     content/uploads/Butane-SDS.pdf (last updated Oct. 30, 2013) (“MAY CONTAIN TRACE
27   AMOUNTS OF BENZENE WHICH CAN CAUSE CANCER OR BE TOXIC TO BLOOD-
     FORMING ORGANS.”).
28          46
               See 21 C.F.R. § 701.3
                                                15
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 1   the FDA’s limit (to the extent even applicable), making the Products illegal to distribute, market,

 2   and sell.

 3           88.       Defendant also knew or should have known about the carcinogenic potential of

 4   benzene because it is classified as a Group 1 compound by the World Health Organization and the

 5   International Agency for Research on Cancer, meaning that it is “carcinogenic to humans.” 47

 6           89.       Accordingly, Defendant knowingly, recklessly, or at least negligently, introduced

 7   a contaminated, adulterated, and misbranded Products containing or risked containing dangerous

 8   amounts of benzene into the U.S. market.
 9           90.       By marketing and selling its body spray products in the stream of commerce with
10   the intent that its Products would be purchased by Plaintiff and Class Members, Defendant
11   warrants that the Products are safe to use rather than adulterated body sprays containing a
12   dangerous, cancer-causing chemical.
13           91.       Defendant did not disclose the actual or potential presence of benzene in its dry
14   shampoo products on the Products’ labeling, advertising, marketing, or sale of the Products.
15           92.       Defendant’s concealment was material and intentional because people are
16   concerned with what is in the products that they are putting onto and into their bodies. Consumers
17   such as Plaintiff and Class members make purchasing decisions based on the representations made
18   on the Products’ labeling, including the ingredients listed.

19           93.       Defendant knows that if it had not omitted that the Products contained benzene,

20   then Plaintiff and Class members would not have purchased the Products.

21   VIII. Injuries to Plaintiff and Class Members

22           94.       When Plaintiff purchased Defendant’s Products, Plaintiff did not know, and had no

23   reason to know, that Defendant’s Products contained or risked containing the harmful carcinogen

24   benzene. Not only would Plaintiff not have purchased Defendant’s Products had they known the

25   Products contained benzene, but they would also not have been capable of purchasing them if

26   Defendant had done as the law required and tested the Products for benzene and other carcinogens

27
             47
                   https://monographs.iarc.who.int/list-of-classifications (Last Accessed November 7,
28
     2022)
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 1   and impurities.

 2          95.     Consumers lack the ability to test or independently ascertain or verify whether a

 3   product contains unsafe substances, such as benzene, especially at the point of sale, and therefore

 4   must and rely on Defendant to truthfully and honestly report what the Products contain on the

 5   Products’ packaging or labels.

 6          96.     Further, given IGK’s position as a leader in the high-end hair care market, Plaintiff

 7   and reasonable consumers trusted and relied on Defendant’s representations and omissions

 8   regarding the presence of benzene in the Products.
 9          97.     Yet, when consumers look at the Products’ packaging, there is no mention of
10   benzene. It is not listed in the ingredients section, nor is there any warning about the inclusion (or
11   even potential inclusion) of benzene in the Products. This leads reasonable consumers to believe
12   the Products do not contain benzene. Indeed, these expectations are reasonable because if the
13   Products are manufactured properly, benzene will not be present in the Products.
14          98.     No reasonable consumer would have paid any amount for products containing
15   benzene, a known carcinogen and reproductive toxin, much less above the limits set by the FDA
16   (which do not even apply to Defendant’s Products).
17          99.     Thus, if Plaintiff and Class members had been informed that Defendant’s Products
18   contained or may contain benzene, they would not have purchased or used the Products, or would

19   have paid significantly less for the Products, making such omitted facts material to them.

20          100.    Defendant’s false, misleading, omissions, and deceptive misrepresentations

21   regarding the presence of benzene in the Products are likely to continue to deceive and mislead

22   reasonable consumers and the public, as it has already deceived and misled Plaintiff and the Class

23   Members.

24          101.    Plaintiff and Class members bargained for a dry shampoo product free of

25   contaminants and dangerous substances. Plaintiff and Class members were injured by the full

26   purchase price of the Products because the Products are worthless, as they are adulterated and

27   contain harmful levels of benzene—or at risk of containing the same—and Defendant failed to

28   warn consumers of this fact. Such illegally sold products are worthless and have no value.
                                                      17
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 1          102.    As alleged above, Plaintiff and Class members’ Products either contained benzene

 2   or were at significant risk of containing the same.

 3          103.    Plaintiff and Class members are further entitled to statutory and punitive damages,

 4   attorneys’ fees and costs, and any further relief this Court deems just and proper.

 5                                        CLASS ALLEGATIONS

 6          104.    Plaintiff individually and on behalf of all others, brings this class action pursuant

 7   to Fed. R. Civ. P. 23.

 8          105.    Plaintiff seeks to represent a class defined as:
 9                  All persons who purchased the Products in the United States for
                    personal or household use within any applicable limitations period
10                  (“Nationwide Class”).
11          106.    Plaintiff also seeks to represent a subclass defined as:
12                  All persons who purchased the Products in California for personal
                    or household use within any applicable limitations period
13                  (“California Subclass”).
14         107.     Plaintiff also seeks to represent a subclass defined as:
15                  All persons who purchased one or more of Defendant’s Products in
                    the States of California, Florida, Illinois, Massachusetts, Michigan,
16                  Minnesota, Missouri, New Jersey, New York, or Washington for
                    personal or household use within any applicable limitations period
17                  (“Consumer Fraud Multi-State Subclass”). 48
18          108.    Excluded from the Class and Subclasses are: (1) any Judge or Magistrate presiding

19   over this action and any members of their families; (2) Defendant, Defendant’s subsidiaries,

20   parents, successors, predecessors, and any entities in which Defendant or its parents and any

21   entities in which Defendant has a controlling interest and its current or former employees, officers,

22   and directors; and (3) individuals who allege personal bodily injury resulting from the use of the

23   Products.

24          48
                While discovery may alter the following, the states in the Consumer Fraud Multi-State
25   Class are limited to those states with similar consumer fraud laws under the facts of this case:
     California (Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois
26   (815 Ill. Comp. Stat. 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan
     (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo.
27   Rev. Stat. § 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus.
     Law        §§    349       and      350);     and       Washington         (Wash.    Rev.        Code
28
     § 19.86.010, et seq.).
                                                      18
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 1          109.      Plaintiff reserves the right to modify, change, or expand the definitions of the Class

 2   based upon discovery and further investigation.

 3          110.      Numerosity: The Class is so numerous that joinder of all members is impracticable.

 4   The Class likely contains thousands of members based on publicly available data. The Class is

 5   ascertainable by records in Defendant’s possession.

 6          111.      Commonality: Questions of law or fact common to the Class include, without

 7   limitation:

 8                 a. Whether the Products contain benzene;
 9                 b. Whether a reasonable consumer would consider the presence of benzene in the
10                    Products to be material;
11                 c. Whether Defendant knew or should have known that the Products contains
12                    benzene;
13                 d. Whether Defendant misrepresented whether the Products contains benzene;
14                 e. Whether Defendant failed to disclose that the Products contain benzene;
15                 f. Whether Defendant concealed that the Products contain benzene;
16                 g. Whether Defendant engaged in unfair or deceptive trade practices;
17                 h. Whether Defendant violated the state consumer protection statutes alleged herein;
18                 i. Whether Defendant was unjustly enriched; and

19                 j. Whether Plaintiff and Class members are entitled to damages.

20          112.      Typicality: Plaintiff’s claims are typical of the claims of Class members. Plaintiff

21   and Class members were injured and suffered damages in substantially the same manner, have the

22   same claims against Defendant relating to the same course of conduct, and are entitled to relief

23   under the same legal theories.

24          113.      Adequacy: Plaintiff will fairly and adequately protect the interests of the Class and

25   have no interests antagonistic to those of the Class. Plaintiff has retained counsel experienced in

26   the prosecution of complex class actions, including actions with issues, claims, and defenses

27   similar to the present case. Counsel intends to vigorously prosecute this action.

28          114.      Predominance and superiority: Questions of law or fact common to Class members
                                                       19
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 1   predominate over any questions affecting individual members. A class action is superior to other

 2   available methods for the fair and efficient adjudication of this case because individual joinder of

 3   all Class members is impracticable and the amount at issue for each Class member would not

 4   justify the cost of litigating individual claims. Should individual Class members be required to

 5   bring separate actions, this Court would be confronted with a multiplicity of lawsuits burdening

 6   the court system while also creating the risk of inconsistent rulings and contradictory judgments.

 7   In contrast to proceeding on a case-by-case basis, in which inconsistent results will magnify the

 8   delay and expense to all parties and the court system, this class action presents far fewer
 9   management difficulties while providing unitary adjudication, economies of scale and
10   comprehensive supervision by a single court. Plaintiff is unaware of any difficulties that are likely
11   to be encountered in the management of this action that would preclude its maintenance as a class
12   action.
13             115.   Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.
14   23(b)(3).
15

16                                         CAUSES OF ACTION
17                                               COUNT I
                        VIOLATIONS OF STATE CONSUMER FRAUD ACTS
18
                  (On behalf of Plaintiff and the Consumer Fraud Multi-State Subclass)
19
               116.   Plaintiff repeats and realleges each and every allegation contained in the foregoing
20
     paragraphs as if fully set forth herein.
21
               117.   Plaintiff brings this Count on behalf of herself and the Consumer Fraud Multi-State
22
     Subclass against Defendant.
23
               118.   The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State
24
     Subclass prohibit the use of unfair or deceptive business practices in the conduct of trade or
25
     commerce.
26
               119.   Plaintiff and the other Members of the Consumer Fraud Multi-State Subclass have
27
     standing to pursue a cause of action for violation of the Consumer Fraud Acts of the states in the
28
                                                       20
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 1   Consumer Fraud Multi-State Subclass because Plaintiff and Members of the Consumer Fraud

 2   Multi-State Subclass have suffered an injury in fact and lost money as a result of Defendant’s

 3   actions set forth herein.

 4             120.   Defendant engaged in unfair and/or deceptive conduct by making material

 5   misrepresentations and omissions regarding the presence of benzene in the Products, as discussed

 6   herein.

 7             121.   Defendant intended that Plaintiff and each of the other Members of the Consumer

 8   Fraud Multi-State Subclass would rely upon its unfair and deceptive conduct and a reasonable
 9   person would in fact be misled by this deceptive conduct described above.
10             122.   Given Defendant’s position in the hair care market as an industry leader, Plaintiff
11   and reasonable consumers trusted and relied on Defendant’s representations and omissions
12   regarding the presence of benzene in the Products.
13             123.   As a result of Defendant’s use or employment of unfair or deceptive acts or business
14   practices, Plaintiff and each of the other Members of the Consumer Fraud Multi-State Subclass
15   have sustained damages in an amount to be proven at trial.
16             124.   In addition, Defendant’s conduct showed malice, motive, and the reckless disregard
17   of the truth such that an award of punitive damages is appropriate.
18                                       COUNT II
          VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW, BUSINESS &
19
                     PROFESSIONS CODE SECTION 17500 (“FAL”)
20                   (On behalf of Plaintiff and the California Subclass)

21
               125.   Plaintiff re-alleges and incorporates by reference all preceding factual allegations
22
     as though set forth fully herein.
23
               126.   Plaintiff brings this cause of action on behalf of herself and the California Subclass
24
     Members against Defendant.
25
               127.   The FAL provides that “[i]t is unlawful for any person, firm, corporation or
26
     association, or any employee thereof with intent directly or indirectly to dispose of real or personal
27
     property or to perform services” to disseminate any statement “which is untrue or misleading, and
28
                                                       21
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 1   which is known, or which by the exercise of reasonable care should be known, to be untrue or

 2   misleading.” Cal. Bus. & Prof. Code § 17500.

 3          128.    It is also unlawful under the FAL to disseminate statements concerning property or

 4   services that are “untrue or misleading, and which is known, or which by the exercise of reasonable

 5   care should be known, to be untrue or misleading.” Id.

 6          129.    As alleged herein, the advertisements, labeling, policies, acts, and practices of

 7   Defendant relating to the Products misled consumers acting reasonably as to the presence of

 8   benzene in the Products or the risk thereof.
 9          130.    At the time of its misrepresentations, Defendant was either aware that the Products
10   contained benzene or was aware that it lacked the information and/or knowledge required to
11   truthfully represent that the Products would not expose Plaintiff and consumers to the risk of
12   benzene exposure. Defendant concealed and omitted and failed to disclose this information to
13   Plaintiff and Class Members.
14          131.    Defendant’s descriptions of the Products were false, misleading, and likely to
15   deceive Plaintiff and other reasonable consumers.
16          132.    Plaintiff suffered injury in fact as a result of Defendant’s actions as set forth herein
17   because they purchased the Products in reliance on Defendant’s false and misleading labeling
18   claims and omissions that the Products, among other things, are safe for use on the hair and scalp.

19          133.    Had Defendant disclosed the true nature of the Products, and the fact that it contains

20   a chemical that is a known carcinogen associated with serious health consequences, Plaintiff and

21   California Subclass Members would either not purchased the Products or would have paid

22   substantially less for them.

23          134.    Defendant’s business practices as alleged herein constitute deceptive, untrue, and

24   misleading advertising pursuant to the FAL because Defendant have advertised the Products in a

25   manner that is untrue and misleading, which Defendant knew or reasonably should have known,

26   and omitted material information from its advertising.

27          135.    Defendant profited from its sale of the falsely and deceptively advertised Products

28   to unsuspecting consumers.
                                                      22
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 1          136.    As a result, Plaintiff, California Subclass Members, and the general public are

 2   entitled to injunctive and equitable relief, restitution, and an order for the disgorgement of the

 3   funds by which Defendant was unjustly enriched. Plaintiffs seek such equitable relief, in the

 4   alternatively, should their legal remedies prove unavailable.

 5          137.    Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of themselves and

 6   California Subclass Members, seek an order enjoining Defendant from continuing to engage in

 7   deceptive business practices, false advertising, and any other act prohibited by law, including those

 8   set forth in this Complaint. Injunctive relief is needed, as Defendant continues to misrepresent the
 9   true nature of the Products and continues to mislead the public. Additionally, Plaintiffs have
10   purchased the Products, and would be willing to purchase these Products again, if the risk of
11   benzene exposure was eliminated.
12                                     COUNT III
      FOR VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW, BUSINESS &
13
                 PROFESSIONS CODE SECTION 17200 et seq. (“UCL”)
14                 (On behalf of Plaintiff and the California Subclass)

15
            138.    Plaintiff re-alleges and incorporates by reference all preceding factual allegations
16
     as though set forth fully herein.
17
            139.    Plaintiff brings this cause of action on behalf of herself and California Subclass
18
     Members against Defendant.
19
            140.    The UCL prohibits any “unlawful, unfair or fraudulent business act or practice.”
20
     Cal. Bus. & Prof. Code § 17200.
21
            141.    The acts, omissions, misrepresentations, practices, and non-disclosures of
22
     Defendant as alleged herein constitute business acts and practices.
23
            142.    The acts alleged herein are “unlawful” under the UCL in that they violate at least
24
     the following laws:
25
                      a. The False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq.;
26
                      b. The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq.;
27
                      c. The Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301 et seq.; and
28
                                                      23
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 1                   d. The California Sherman Food, Drug, and Cosmetic Law, Cal. Health &

 2                       Safety Code §§ 110100 et seq.

 3          143.    Defendant’s conduct with respect to the labeling, advertising, and sale of the

 4   Products was “unfair” because Defendant’s conduct was immoral, unethical, unscrupulous, or

 5   substantially injurious to consumers and the utility of their conduct, if any, does not outweigh the

 6   gravity of the harm to their victims.

 7          144.    Defendant’s conduct with respect to the labeling, advertising, and sale of the

 8   Products was and is also unfair because it violates public policy as declared by specific
 9   constitutional, statutory or regulatory provisions, including but not limited to the applicable
10   sections of: the Consumers Legal Remedies Act, the False Advertising Law, the Federal Food,
11   Drug, and Cosmetic Act, and the California Sherman Food, Drug, and Cosmetic Law.
12          145.    Further, the consumer injury was substantial, not outweighed by benefits to
13   consumers or competition, and not one consumer themselves could reasonably have avoided.
14          146.    A statement or practice is “fraudulent” under the UCL if it is likely to mislead or
15   deceive the public, applying an objective reasonable consumer test.
16          147.    As set forth herein, Defendant’s claims relating the representations and omissions
17   stated on the Products’ labeling and marketing statements mislead reasonable consumers regarding
18   the presence of benzene in the Products.

19          148.    Defendant profited from its sale of the falsely, deceptively, and unlawfully

20   advertised the Products to unsuspecting consumers.

21          149.    Plaintiff and California Subclass Members are likely to continue to be damaged by

22   Defendant’s deceptive trade practices, because Defendant continues to disseminate misleading

23   information on the Products’ packaging. Additionally, Plaintiff has purchased the Products, and

24   would be willing to purchase these Products again, if the risk of benzene exposure was eliminated.

25   Thus, injunctive relief enjoining Defendant’s deceptive practices is proper.

26          150.    Defendant’s conduct caused and continues to cause substantial injury to Plaintiff

27   and the other California Subclass Members. Plaintiff has suffered injury in fact as a result of

28   Defendant’s unlawful conduct, including economic injury.
                                                     24
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 1          151.    In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order enjoining

 2   Defendant from continuing to conduct business through unlawful, unfair, and/or fraudulent acts

 3   and practices, and to commence a corrective advertising campaign.

 4          152.    Plaintiff and the Class also seek an order for and restitution of all monies from the

 5   sale of the Products, which were unjustly acquired through acts of unlawful competition. Plaintiff

 6   seeks such equitable relief, in the alternatively, should their legal remedies prove unavailable.

 7                                      COUNT IV
        VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT, CIVIL
 8
                           CODE SECTION 1770 (“CLRA”)
 9                  (On behalf of Plaintiff and the California Subclass)

10
            153.    Plaintiff re-alleges and incorporates by reference all preceding factual allegations
11
     as though set forth fully herein.
12
            154.    Plaintiff brings this cause of action on behalf of herself and California Subclass
13
     Members against Defendant.
14
            155.    The CLRA prohibits deceptive practices in connection with the conduct of a
15
     business that provides goods, property, or services primarily for personal, family, or household
16
     purposes.
17
            156.    Defendant’s false and misleading labeling and other policies, acts, and practices
18
     were designed to, and did, induce the purchase and use of the Products for personal, family, or
19
     household purposes by Plaintiff and Class Members, and violated and continue to violate the
20
     following sections of the CLRA:
21
                      e. § 1770(a)(5): representing that goods have characteristics, uses, or benefits
22
                          which they do not have;
23
                      f. § 1770(a)(7): representing that goods are of a particular standard, quality, or
24
                          grade if they are of another;
25
                      g. § 1770(a)(9): advertising goods with intent not to sell them as advertised;
26
                          and
27
                      h. § 1770(a)(16): representing the subject of a transaction has been supplied in
28
                                                      25
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 1                        accordance with a previous representation when it has not.

 2          157.     Defendant profited from the sale of the falsely, deceptively, and unlawfully

 3   advertised Products to unsuspecting consumers.

 4          158.     Defendant’s wrongful business practices constituted, and constitute, a continuing

 5   course of conduct in violation of the CLRA.

 6          159.     Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff provided written

 7   notice to Defendant on November 8, 2022 via certified mail through the United States Postal

 8   Service demanding corrective action pursuant to the CLRA. If Defendant does not thereafter
 9   correct its business practices, Plaintiff will amend (or seek leave to amend) the complaint to add
10   claims for monetary relief, including restitution and actual damages under the Consumers Legal
11   Remedies Act.
12          160.     Venue is proper pursuant to Civil Code § 1780(d) because transactions giving rise
13   to this action occurred within this District. A Declaration of Plaintiff establishing that this Court
14   is the proper venue for this action is attached as Exhibit A.
15          161.     Pursuant to California Civil Code § 1780, Plaintiff seeks injunctive relief,
16   reasonable attorney fees and costs, and any other relief that the Court deems proper.
17                                               COUNT V
                                        UNJUST ENRICHMENT
18
                                            (In the Alternative)
19                           (On behalf of Plaintiff and the Nationwide Class)

20
            162.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
21
     paragraphs as if fully set forth herein.
22
            163.     Plaintiff brings this Count on behalf of herself and the Nationwide Class against
23
     Defendant.
24
            164.     This claim is brought under the laws of the State of California.
25
            165.     Defendant’s conduct violated, inter alia, state and federal law by manufacturing,
26
     advertising, marketing, and selling the Products while misrepresenting and omitting material facts.
27
            166.     Defendant’s unlawful conduct allowed Defendant to knowingly realize substantial
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                                                      26
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 1   revenues from selling the Products at the expense of, and to the detriment or impoverishment of

 2   Plaintiff and Class members and to Defendant’s benefit and enrichment. Defendant has thereby

 3   violated fundamental principles of justice, equity, and good conscience.

 4          167.      Plaintiff and Class members conferred significant financial benefits and paid

 5   substantial compensation to Defendant for the Products, which was not as Defendant represented

 6   them to be.

 7          168.      Defendant knowingly received and enjoyed the benefits conferred on it by Plaintiff

 8   and Class members.
 9          169.      It is inequitable for Defendant to retain the benefits conferred by Plaintiff and Class
10   members’ overpayments.
11          170.      Plaintiff and Class members seek establishment of a constructive trust from which
12   Plaintiff and Class members may seek restitution.
13

14                                             PRAYER FOR RELIEF
15          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray
16   for relief and judgment against Defendant as follows:
17                 a. Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,
18                    appointing Plaintiff as representative of the Class and Subclasses, and designating

19                    Plaintiff’s counsel as Class Counsel;

20                 b. Awarding Plaintiff and Class members compensatory damages, in an amount to be

21                    determined at trial;

22                 c. Awarding Plaintiff and Class members appropriate relief, including but not limited

23                    to actual damages;

24                 d. For restitution and disgorgement of profits;

25                 e. Awarding Plaintiff and Class members reasonable attorneys’ fees and costs as

26                    allowable by law;

27                 f. Awarding pre-judgment and post-judgment interest;

28                 g. For punitive damages; and
                                                        27
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 1            h. Granting any other relief as this Court may deem just and proper.

 2                                        JURY TRIAL DEMANDED

 3         Plaintiff hereby demands a trial by jury of all claims so triable.

 4   Dated: November 8, 2022                              Respectfully submitted,
 5
                                                          /s/ Trenton Kashima
 6
                                                          Trenton Kashima (CA SBN 291405)
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 9
                                                Attorneys for Plaintiffs
10                                              and the putative Classes

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